                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

In re
 Cori L. Haueter,                         Case No. 20-32145-dwh7
                                            Amended

                                          NOTICE OF HEARING ON MOTION
                                          FOR RELIEF FROM DEBTOR’S
                                          AUTOMATIC STAY IN A CHAPTER 7/13
                                          CASE, AND/OR CODEBTOR’S STAY IN
 Debtor(s)                                A CHAPTER 13 CASE


The attached objection, filed by completing the “objection” portions of the original motion,
filed for the respondent, Jeanne Huffman                              , who is the (for
example, debtor, codebtor, or trustee) Trustee          , is in response to the motion for
relief from stay filed on behalf of movant Zions Bancorporation, N.A.                      .

The name and service address of the respondent's attorney (or respondent, if no attorney)
are: Timothy A. Solomon, Leonard Law Group LLC, 1 SW Columbia, Ste. 1010,
Portland, OR 97204                                                                      .

(If debtor is respondent) The debtor’s address and Taxpayer ID#(s) (last 4 digits) are:

                                                                                           .

NOTICE IS GIVEN that:

A Telephone Hearing on the motion, at which no testimony will be taken, will be held as
follows:

    Date: 10/06/2020
    Time: 1:30 pm
    Call In Number: (888) 684-8852
    Access Code: 3702597

(Note: If you have problems connecting, call the court at (503) 326-1500 or (541) 431-
4000.)

                       TELEPHONE HEARING REQUIREMENTS

1. You must call in and connect to the telephone hearing line or personally appear in the
   judge’s courtroom no later than your scheduled hearing time. The court will not call
   you.



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2. You may be asked to call again from another phone if your connection is weak or
   creates static or disruptive noise.

3. Please mute your phone when you are not speaking. If you do not have a mute
   function on your phone, press *6 to mute and *6 again to unmute if you need to speak.
   Do not put the court on hold if it will result in music or other noise. If available, set the
   phone to "Do Not Disturb" so it will not ring during the hearing.

4. When it is time for you to speak, take your phone off the “speaker” option or headset
   to minimize background noise and improve sound quality. Position the telephone to
   minimize paper rustling. Do not use a keyboard or talk with others in the room. Be
   aware that telephone hearings may be amplified throughout the courtroom.

5. Do not announce your presence until the court calls your case. Simply stay on the
   line, even if there is only silence, until the judge starts the hearings, and then continue
   to listen quietly until your case is called.

6. Whenever speaking, first identify yourself.

7. Be on time. The judge may handle late calls the same as a late appearance in the
   courtroom.

                                            /s/ Timothy A. Solomon
                                            Signature


I certify that: (1) the objection was prepared on a copy of the original motion; (2) if the
objection was electronically filed, it was prepared using the fillable PDF version of the
motion unless the motion was filed on paper and could not be otherwise electronically
obtained from the movant; and (3) that on 09/25/2020                     this notice and
the objection were served on the movant’s attorney (or movant, if no attorney) at the
address shown in the notice of motion.

                                            /s/ Timothy A. Solomon
                                            Signature
                                            Counsel to Respondent
                                            Relation to Respondent




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                                      DISTRICT OF OREGON

In re
                                                Case No.  20-32145-dwh7
                                                  Amended
 Cori L. Haueter,                               (Check all applicable boxes)
                                                CHAPTER 7/13 MOTION FOR RELIEF FROM
                                                       Debtor    Chapter 13 Codebtor Stay
                                                   Filed by Movant:
                                                    Zions Bancorporation, N.A.
                                                    Objection to Stay Motion filed by Respondent:
Debtor(s)                                           Jeanne Huffman, Chapter 7 Trustee


Instructions to movant: You must file this motion with a notice of motion on Local Bankruptcy Form
(LBF) 720. See LBF 720.50, Procedures re: Motions for Relief from Stay, for more information.

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by
   movant)

   a. Description of collateral (e.g., car model, year, and VIN, or property address):
      The real property commonly known as 325 Grove Road, Ontario, OR 97914, as more particularly
      described in the May 14, 2019 Deed of Trust and Fixture Filing included the Proof of Claim filed
      by Zions Bancorporation, N.A. ("Zions") (Claim No. 4)
   b. Amount of debt: $ 1,332,023.51      , consisting of principal of $                 , interest of
        $                      , and other:



   c. Description, amount, and priority of other encumbrances on collateral. If not known, include
      applicable information from debtor’s schedules if available on PACER:
        Not definitively known at this time.


        Total debt secured by collateral (1.b. + 1.c.): $ 1,332,023.51         .

   d. Value of collateral: $ 715,000.00        .
      Equity in collateral: $ 0                , after deducting $ Not known       of liquidation costs.

   e. Current monthly payment: $ Not known            .

   f. If Chapter 13:

        (1) $                   postpetition default consisting of (e.g., $                    payments,
            $                   late charges, $                  fees):




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      (2) $                     prepetition default consisting of       amounts specified in proof of
          claim, or,      consisting of:



   g. If Chapter 7, total amount of default: $ 1,332,023.51   .

OBJECTION (Identify specific items disputed and specify what you contend are the pertinent facts,
including why there is a postpetition default, if applicable) (to be completed by respondent):
    Debtor signed two promissory notes to Zions, one in the principal amount of $450,000 and one in
    the principal amount of $870,000. A deed of trust on the property described in Paragraph 1(a)
    above was executed to secure repayment of the $450,000 obligation, but no deed of trust was
    executed to secure the $870,000 obligation. Only the $450,000 note is secured by the real
    property, and it appears the estate has significant equity in the property.

2. Relief from Stay Should be Granted Because: (Check all that apply) (to be completed by movant)
      Lack of adequate protection because of failure to make sufficient adequate protection payments
      and lack of a sufficient equity cushion.
      Lack of insurance on collateral.
      No equity in the collateral and the property is not necessary for an effective reorganization.
      Failure of debtor to make Chapter 13 plan payments to the trustee.
      Failure of debtor to make direct payments required by Chapter 13 plan.
      Other (describe):
    Cause exists to grant Zions stay relief. Both Mark F. Haueter and Cori L. Haueter have moved out
    of the property. The property is an isolated, unoccupied rural property consisting of a home and a
    barn on 78 acres. Without anyone living at the property, it is subject to an unacceptably high
    degree of risk. Further, the Chapter 7 Trustee has not made any efforts to sell the property. The
    property is not even listed for sale.
OBJECTION (Specify why relief from stay should be denied. If respondent proposes to cure a
postpetition default, detail the cure by attaching a proposed order using LBF 720.90 available at
https://www.orb.uscourts.gov under Forms/Local Forms) (to be completed by respondent):
    As noted above, the estate appears to have significant equity in the property. In addition, as
    further discussed below, the Trustee is in the process of bringing the property to market.




3. Background (To be completed by movant)

   a. Date petition filed: 03/17/20      Current Chapter: 7       (7 or 13)
      If 13, current plan date                Confirmed:         Yes        No
      If 13, treatment of movant’s prepetition claim(s) in plan:



      If 7, debtor       has     has not stated on LBF 521.05 or OF B108 that debtor intends to
      surrender the collateral.
   b. Movant has a lien on the collateral by virtue of (check all applicable sections, and also see
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      paragraph 6 below):

          Security agreement, trust deed, or land sale contract dated 05/14/2019 and any assignment
          of that interest to movant. The security interest was perfected as required by applicable law
          on 05/14/2019 .

          Retail installment contract dated            and any assignment of that interest to movant.
          The security interest was perfected on the certificate of title on        .

          Other (describe):




OBJECTION (Identify any disputed items and specify the pertinent facts) (to be completed by
respondent):
 Zions has a perfected security interest in the property only with respect to its $450,000 note.




4. Request for Relief from Codebtor Stay (Chapter 13 only)
   a.                                , whose address is
                                     , is a codebtor on the obligation described above, but is not a
      debtor in this bankruptcy.

   b. Movant should be granted relief from the codebtor stay because (check all that apply):
         codebtor received the consideration for the claim held by movant        debtor’s plan does not
      propose to pay movant’s claim in full        movant’s interest would be irreparably harmed by
      continuation of the codebtor stay as a result of the default(s) described above     because:




OBJECTION (Identify any disputed items and specify the pertinent facts) (to be completed by
respondent):




5. Other Pertinent Information (To be completed by movant, if applicable):




OBJECTION (Identify any disputed items and specify the pertinent facts) (to be completed by
respondent):
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6. Relief Requested (Check all applicable sections) (To be completed by movant):

      Movant requests relief from the automatic stay to allow it to foreclose its lien on the collateral
      and to take any necessary action to obtain possession of the collateral.

      Movant has a security interest in real property and requests relief from stay of an act against the
      collateral and that the relief be binding in any other bankruptcy case purporting to affect the
      collateral filed not later than 2 years after the date of the entry of an order granting this motion.
      (If you check this box, you must complete paragraph 5 above to support this request. If you do
      not do so, the Court will not grant relief binding in any other bankruptcy case.)

      Movant requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the
      following cause:
   This bankruptcy case has been pending seven months and there is no reason for further delay.




      Other (describe and explain cause):




OBJECTION (Identify any disputed items and specify the pertinent facts. If respondent agrees to some
relief, attach a proposed order using LBF 720.90 available at https://www.orb.uscourts.gov under
Forms/Local Forms) (to be completed by respondent):
   Although the bankruptcy case has been pending seven months, the case was converted to chapter 7
   only one month ago, and its companion case (Mark Haueter) converted only two months ago. The
   Trustee has taken steps to administer both cases diligently, working with Zions to oversee the
   successful liquidation of significant numbers of cattle as well as vehicles, equipment, and other
   property. In addition, the Trustee is finalizing applications to employ professionals to sell the
   property. There has been no delay. The Trustee requests the Court deny Zions' motion.
7. Documents:

   If movant claims to be secured in paragraph 3.b. above, movant has attached to and filed with
   this motion a copy of the documents creating and perfecting the security interest, if not previously
   attached to a proof of claim.

   If this case is a chapter 13 case and the collateral is real property, movant has attached to and
   filed with this motion a postpetition payment history current to a date not more than 30 days before
   this motion is filed, showing for each payment the amount due, the date the payment was received,
   the amount of the payment, and how movant applied the payment.

RESPONDENT requests movant provide respondent with the following document(s), if any are
marked below, which are pertinent to this objection:
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      Postpetition payment history, if not required above.
      Documents establishing that movant owns the debt described in paragraph 1 or is otherwise a
      proper party to bring this motion.
      Other document(s) (specific description):




Movant/Attorney                                       Respondent /Attorney (by signing, the
                                                      respondent also certifies that the respondent
                                                      has not altered the information completed by
                                                      movant)

Signature: /s/ Thomas W. Stilley                      Signature: /s/ Timothy A. Solomon
Name: Thomas W. Stilley                               Name: Timothy A. Solomon
Address: Sussman Shank LLP, 1000 SW                   Address: Leonard Law Group LLC
Broadway, Suite 1400, Portland, OR 92705              1 SW Columbia, Ste. 1010, Portland, OR 97204
Email: tstilley@sussmanshank.com                      Email: tsolomon@LLG-LLC.com
Phone #: 503-227-1111                                 Phone #: 971-634-0194
OSB#: 883167                                          OSB#: 072573




You are hereby notified that the creditor is attempting to collect a debt and any information obtained
will be used for that purpose.




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